Subject:    Re: Tri Star Discovery Responses
Date:       Friday, January 28, 2022 at 3:44:39 PM Central Standard Time
From:       Daniel Arciniegas
To:         Betsy Hart, roland@mumfordlaw.net
CC:         Tara Swaﬀord
A8achments: 38592EEF730844EBA93F33DF8A90E5A5.jpg, 9490ABE082514A21ACF7735CD9640AB5.png,
            B6E6B24E41AC4FBB836E8BD50C53C11B[1694722].jpg,
            B99BCBAA342444F0911C02EE0F9B7947.png, F7AD02BCCEDD432C957F81BC8D2292F3.png,
            image006.jpg

Betsy:

I cannot agree to protective order that precludes me from showing documents to my client or potential
witnesses. You can file your motion explaining the basis for including such a prohibition. This dispute
should not delay production of other documents please produce those that will be marked as
confidential. Please go ahead produce those. Thanks.




From: Betsy Hart <betsy@swaﬀordlawﬁrm.com>
Date: Wednesday, January 12, 2022 at 2:08 PM
To: Daniel Arciniegas <daniel@aYorneydaniel.com>, roland@mumfordlaw.net
<roland@mumfordlaw.net>
Cc: Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: RE: Tri Star Discovery Responses

Daniel,

We will agree to the revised definitions that you have proposed, but need to leave paragraph 8 (disclosure of
highly confidential information) as is. We do not currently have any documents that we plan to produce and
designate as highly confidential but, because of the current media attention surrounding our client, we need to
have this designation in place in case any document or information comes up that would meet the definition.
For example, you have asked for PPP documents. While we have objected and do not plan to produce those, if
Tri Star were to be ordered to produce PPP information, it would be designated as highly confidential.

We can’t agree that highly confidential information can be shown to your client or lay witnesses, as this is
really the whole reason for having the two tiered protective order.

We are ok revising the order to reflect that the designating party is the one that has to file a motion for the
court to review a designation, as you have proposed.

We are also okay with your office keeping all case information for one year after all appeal deadlines have
passed, as long as all of the designations and protections remain in place.

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Happy to discuss over the phone if you would like. Let us know. Thanks.




Elizabeth “Betsy” Hart
321 Billingsly Ct., Suite 19
Franklin, TN 37067
615-599-8406 office
502-741-6831 cell
615-807-2355 fax
betsy@swaffordlawfirm.com
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From: Daniel Arciniegas
Sent: Monday, January 10, 2022 12:16 PM
Subject: Re: Tri Star Discovery Responses

Betsy:

I’m looking at the proposed protective order, specifically at subsection 1(b) and section 8 “Disclosure
of Highly Confidential Material.” I generally do not agree to a protective orders with a two-tier
designation plan, as drafted the “Highly Confidential” designation operates as an “Attorney Eyes
Only” designation. I primarily object to such AEO designations on grounds it prejudices plaintiff by
requiring me agree to not discuss potentially probative information with my client or potential
witnesses, without the benefit of having seen the information first.

It will help me if you can give me a description or examples of the information Defendant believes falls
within this category in this case. I could possibly agree to a two-tier designation if we can tailor the
definitions of confidential and highly confidential. I was thinking something along the lines of the
following:

           (a)                “Conﬁden]al Informa]on” means informa]on Social Security or taxpayer iden]ﬁca]on
numbers; dates of birth; names of minor children; ﬁnancial account numbers; home addresses; sensi]ve
informa]on involving personal ﬁnancial, medical, matrimonial or family maYers. Conﬁden]al Informa]on
does not include informa]on that has been disclosed in the public domain and in a manner not in conﬂict
with this Agreement.
                        (b)         “Highly Conﬁden]al Informa]on” means informa]on that cons]tutes a trade secret
and other conﬁden]al research, development, or commercial informa]on that would signiﬁcantly undercut a
legi]mate compe]]ve advantage of the Designa]ng Party if disclosed. Highly Conﬁden]al Informa]on does
not include informa]on that has been disclosed in the public domain.

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If we can agree on a tailored definition of “Highly Confidential Information” I have no problem with
agreeing not to disseminate. However, I need to be able to discuss with my client and potential
witnesses.

With respect to filing, I think “confidential information” as I have defined can be redacted for the most
part, obviating the need to file under seal. I think the sealing section if limited to highly confidential
information will work fine.

With respect to the designation challenge process, I believe the Designating Party should file the
motion for the Court to decide whether there is good cause as contemplated under Fed. R. Civ. 26(c).

I need to be able to keep archival copies of information provided for a period of at least 1 year after the
passage of an appeal deadlines. Also, the section would need to include “Counsel are entitled to retain
an archival copy of all pleadings, motion papers, transcripts, legal memoranda, correspondence or
attorney work product, even if such materials contain Confidential or Highly Confidential
Information.”

These are the main issues. If we can resolve these issues then we should be able to iron out the rest
pretty quickly.

If you think we need to discuss then propose a time Wednesday for a phone conference. Thank you.



                        Daniel Arciniegas
                        Arciniegas Law
                        1242 Old Hillsboro Road
                        The Atrium Building
                        Franklin, TN 37069
                        T. 629.777.5339
                        AttorneyDaniel.com




From: Daniel Arciniegas <daniel@aYorneydaniel.com>
Date: Monday, January 10, 2022 at 9:24 AM
To: Betsy Hart <betsy@swaﬀordlawﬁrm.com>, roland@mumfordlaw.net <roland@mumfordlaw.net>
Cc: Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Re: Tri Star Discovery Responses

Betsy:

I would like until Friday January 14, 2022 to get you our discovery responses. Please confirm. I am
reviewing the protective order this morning. Are there any documents Defendant will be producing that
are not marked confidential or attorneys eyes only?




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                                  Daniel Arciniegas
                                  Arciniegas Law
                                  1242 Old Hillsboro Road
                                  The Atrium Building
                                  Franklin, TN 37069
                                  T. 629.777.5339
                                  AttorneyDaniel.com




From: Betsy Hart <betsy@swaﬀordlawﬁrm.com>
Date: Friday, January 7, 2022 at 4:23 PM
To: roland@mumfordlaw.net <roland@mumfordlaw.net>, Daniel Arciniegas
<daniel@aYorneydaniel.com>
Cc: Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Tri Star Discovery Responses

Daniel and Roland,

Tri Star’s responses to your client’s requests for production are attached, and below is a link to the non-
confidential document production. Please let us know if you can agree to the protective order. Once that is in
place, we will produce confidential and highly confidential documents. Thanks.


   Tri Star NON-CONFIDENTIAL Production




Elizabeth “Betsy” Hart
321 Billingsly Ct., Suite 19
Franklin, TN 37067
615-599-8406 office
502-741-6831 cell
615-807-2355 fax
betsy@swaffordlawfirm.com
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